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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

UNITED STATES OF AMERICA,

       Plaintiff,                                     Case No. 15-20723
                                                      Hon. Matthew F. Leitman
vs.

D5, KAMANI JACOBS,

      Defendant.
__________________________________/

      EX PARTE ORDER PERMITTING LAPTOP OR OTHER COMPUTER
       DISC PLAYER TO BE TAKEN INTO MILAN DETENTION CENTER


       IT IS HEREBY ORDERED that Steven Scharg, attorney for Kamani Jacobs

#54452-039, be permitted to take a laptop computer, a computer disc player, or other

such device which Mr. Scharg can use to play discs containing discovery only, in this

matter, with and for Kamani Jacobs, into the Milan Detention Center.


                                         /s/Matthew F. Leitman
                                         MATTHEW F. LEITMAN
                                         UNITED STATES DISTRICT JUDGE

Dated: June 28, 2016


I hereby certify that a copy of the foregoing document was served upon the parties and/or
counsel of record on June 28, 2016, by electronic means and/or ordinary mail.

                                               s/Holly A. Monda
                                               Case Manager
                                               (313) 234-5113
